              Case 6:23-bk-04797-TPG       Doc 401     Filed 04/04/24    Page 1 of 85




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                                      Chapter 11

Starboard Group of Space Coast, LLC                         Case No. 6:23-bk-04789-TPG
Starboard Group of Southeast Florida, LLC                   Case No. 6:23-bk-04791-TPG
Starboard Group of Tampa, LLC                               Case No. 6:23-bk-04790-TPG
Starboard Group of Tampa II, LLC                            Case No. 6:23-bk-04793-TPG
Starboard Group of Alabama, LLC                             Case No. 6:23-bk-04792-TPG
Starboard with Cheese, LLC                                  Case No. 6:23-bk-04796-TPG
7 S&M Foods, LLC                                            Case No. 6:23-bk-04798-TPG
9 S&M Foods, LLC                                            Case No. 6:23-bk-04800-TPG
10 S&M Foods, LLC                                           Case No. 6:23-bk-04802-TPG
SBG Burger Opco, LLC,                                       Case No. 6:23-bk-04797-TPG

             Debtors.                                       Jointly Administered with
_________________________________/                          Case No. 6:23-bk-04797-TPG

Starboard Group of Space Coast, LLC,
Case No. 6:23-bk-04789-TPG,

             Applicable Debtor.
_________________________________/

              OBJECTION OF 1841 US 1 LLC AND RESERVATION OF RIGHT
                 WITH RESPECT TO PROPOSED CURE PAYMENT AND
                    TO ASSUMPTION OF REAL PROPERTY LEASE
                          (Related Docket Nos. 244 and 301)


         1841 US 1 LLC (hereinafter, “Landlord”), by and through its undersigned attorneys, hereby

files its Objection and Reservation of Right With Respect to Proposed Cure Payment and to

Assumption Of Real Property Lease, and states as follows:

                                        BACKGROUND

         1.      On November 14, 2023 (the “Petition Date”), the Debtors filed Voluntary Petitions

for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §101 et seq. (the

“Bankruptcy Code” or “Code”). Since the Petition Date, the Debtors have continued to manage
            Case 6:23-bk-04797-TPG          Doc 401       Filed 04/04/24     Page 2 of 85




their properties and operate their businesses as debtors-in-possession pursuant to §§1107 and 1108

of the Bankruptcy Code.

                                              The Lease

       2.      Landlord and Starboard Group of Space Coast LLC (“Tenant”) are parties to that

certain Lease Agreement dated as of January 30, 2007, as amended by the First Amendment to

Lease Agreement (“First Amendment”) dated January 3, 2018 (collectively, the “Lease”), with

respect to real estate located at 1841 North 4th St., Fort Pierce FL 34946. A copy of the Lease is

attached to Landlord’s proof of claim, a copy of which is attached hereto as Exhibit A.

       3.      The Lease is a triple net lease that requires Tenant to pay, as additional rent, all real

estate taxes and assessments, insurance, repairs and maintenance. See Lease para. 6(a).

       4.      The Lease provides for $121,845,88 in annual rent, payable in equal monthly

installments of $10,153.83. See First Amendment para. 4.

                                    Landlord’s Proof of Claim

       5.      On March 13, 2024, Landlord filed a proof of claim against the Debtors (Claim

23). Landlord’s claim asserts the following amounts (not including about $276,000 in anticipated

rejection damages):

      Category               Priority                  Claim
      Pre-petition arrears   Unsecured                 $5,076.91 (1/2 rent for November 2023)
      Pre-petition arrears   Unsecured                 $31,259.49 (unpaid property taxes 2022)
      Pre-petition arrears   Unsecured                 $26,362.81 (unpaid property taxes Jan
                                                       2023- Nov 15 2023)
      Post-petition rent     Administrative            $5,076.91 (1/2 rent for November 2023)
      Post-petition tax      Administrative            $3,766.12 (unpaid post-petition property
                                                       taxes 2023)


       6.      Thus, as of the filing of the claim, Landlord’s cure claim would be $62,699.21 for

unpaid prepetition rent and taxes and $8,843.03 for unpaid post-petition rent and taxes, for a total
             Case 6:23-bk-04797-TPG        Doc 401      Filed 04/04/24     Page 3 of 85




cure claim of $71,542.24 (as of the date of the filing of the claim).

                           Sale Procedures Motion and Cure Notice

       7.       On February 20, 2024, the Debtors filed that certain Motion seeking the entry of

an order (I) approving bid procedures in connection with the sale of substantially all of their

assets, (II) approving a break-up fee and minimum overbid amount, (III) scheduling a hearing,

(IV) approving assumption and assignment procedures, and (V) granting certain related relief

(Docket No. 244) (“Sale Procedures Motion”).

       8.       On March 13, 2024, the Debtors filed that certain Notice of Proposed Assumption

and Assignment List [Dkt 301] (“Cure Notice”). A copy of the Debtors’ Cure Notice is attached

hereto as Exhibit B. The Cure Notice proposes lists contracts that may be assumed and assigned

pursuant to the Sale Procedures Motion. The cure amount with respect to Landlord’s Lease is

$243.30 (the “Proposed Cure Payment”). See Cure Notice p.3.

       9.       On March 22, 2024, the Court entered that certain Order Granting Debtors’

Motion for an Order (I) Approving Bid Procedures in Connection with the Sale of Substantially

All of the Debtors’ Assets; (II) Approving a Break-Up Fee and Minimum Overbid Amount; (III)

Scheduling a Sale Hearing; (IV) Approving Assumption and Assignment Procedures; and (V)

Granting Certain Related Relief (Docket No. 327) (“Sale Procedures Order”).

       10.      On March 25, 2024, the Debtor filed a certificate of service of the Sale Procedures

Order (Docket No. 335). A copy of the certificate of service is attached hereto as Exhibit C.

Landlord was not served with the Sale Procedures Order.

       11.      The Sale Procedures Order (which was entered on March 22, 2024) requires

objections to cure amounts to be filed by March 27, 2024. See Exhibit B to Sale Procedures

Order para. B(b). Objections based on the identity of the Successful Bidder are due on April 19,
              Case 6:23-bk-04797-TPG        Doc 401      Filed 04/04/24      Page 4 of 85




2024. Id.

        12.      On April 2, 2024, the Debtors filed a notice of preliminary hearing with respect to

the Cure Notice, and scheduled an April 11, 2024 hearing with respect thereto.

                                      RELIEF REQUESTED

        13.      Landlord hereby objects to the Proposed Cure Payment, and reserves all of its rights

as to a potential assumption or assumption and assignment of the Lease.

                        OBJECTION TO PROPOSED CURE AMOUNT

        14.      In order to assume the Lease, the Debtors are required to cure defaults existing

under such lease pursuant to § 365(b)(1)(A) of the Bankruptcy Code, which provides in relevant

part that “[i]f there has been a default in an executory contract or unexpired lease of the debtor, the

trustee may not assume such contract or lease unless, at the time of assumption of such contract or

lease, the trustee … cures, or provides adequate assurance that the trustee will promptly cure, such

default…” 11 U.S.C. § 365(b)(1)(A).

        15.      As set forth above, the Cure Notice incorrectly lists the cure amount applicable to

the Lease. In order to assume the Lease, Tenant must pay Landlord $71,542.24, plus rent and

other charges arising after the filing of this Objection such as any further unpaid post-petition rent

or real estate taxes.

            RESERVATION OF RIGHT WITH RESPECT TO
ASSUMPTION AND ASSIGNMENT AND WITH RESPECT TO ADEQUATE
           ASSURANCE OF FUTURE PERFORMANCE

        16.      At this time, it is not known whether the Lease is to be assumed and assigned.

Thus, Landlord does not have information as to the terms of any proposed assumption and

assignment of the Lease (such as any proposed modifications). Landlord thus reserves its rights

to be heard with respect to any proposed assumption and assignment of the Lease.
             Case 6:23-bk-04797-TPG         Doc 401     Filed 04/04/24      Page 5 of 85




       17.      Further, Landlord does not know the identity of the proposed assignee (if any). The

Debtors may not assume and assign the Lease unless they demonstrate adequate assurance of

future performance. 11 U.S.C. § 365(b)(1)(C); see also 11 U.S.C. § 365(f)(2). The provision of

adequate assurance of future performance is an affirmative duty of the Debtors, and the Debtors

bear the ultimate burden of persuasion as to issues under Section 365.

       18.      Here, Landlord reserves its rights to adequate assurance under section 365(b)(1)(C)

and 365(f)(2) of the Bankruptcy Code.

                         FURTHER RESERVATION OF RIGHTS

       19.      Landlord reserves the right amend or supplement this Objection as to the cure

amount or any other issue raised herein.

       20.      Lastly, the Lease contains provisions for recovery of attorneys’ fees and costs in

the event Landlord is required to take legal action to protect its interests. See Lease para. 20.

Landlord reserves all of its rights to recovery of its attorneys’ fees incurred in connection with any

proposed assumption or assumption and assignment of the Lease.

       WHEREFORE, Landlord respectfully requests the entry of an order granting the relief

described herein, together with such other and further relief as is just and proper.

Dated: April 4, 2024                                         Respectfully submitted,

                                                             DAL LAGO LAW
                                                             999 Vanderbilt Beach Road
                                                             Suite 200
                                                             Naples, FL 34108
                                                             Telephone: (239) 571-6877

                                                             /s/ Mike Dal Lago
                                                             MICHAEL R. DAL LAGO
                                                             Florida Bar No. 102185
                                                             Email: mike@dallagolaw.com
                                                             CHRISTIAN GARRETT HAMAN
                                                             Florida Bar No. 1017079
                                                             Email: chaman@dallagolaw.com
              Case 6:23-bk-04797-TPG            Doc 401      Filed 04/04/24       Page 6 of 85




                                                                   JENNIFER M. DUFFY
                                                                   Florida Bar No. 1028911
                                                                   Email: jduffy@dallagolaw.com

                                                                   And

                                                                   MANDELBAUM BARRETT PC
                                                                   Vincent J. Roldan, Esq.
                                                                   3 Becker Farm Road, Suite 105
                                                                   Roseland, New Jersey 07068
                                                                   VRoldan@mblawfirm.com

                                                                   Counsel to 1841 US 1 LLC



                                     CERTIFICATE OF SERVICE

           I CERTIFY that on this 4th day of April 2024, a true and correct copy of the foregoing shall be

electronically served through the Court’s CM/ECF Noticing system upon entry to all parties registered for

service.

                                                                    /s/ Mike Dal Lago
                                                                    MICHAEL R. DAL LAGO
                                                                    Florida Bar No. 102185
Case 6:23-bk-04797-TPG   Doc 401   Filed 04/04/24   Page 7 of 85




       Exhibit A
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page81ofof85
                                                               34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page92ofof85
                                                               34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page103of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page114of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page125of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page136of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page147of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page158of
                                                           of85
                                                              34
Case
Case6:23-bk-04789-TPG
     6:23-bk-04797-TPG Claim
                       Doc 401
                             23-1 Filed
                                    Filed
                                        04/04/24
                                          03/13/24 Page
                                                    Page169of
                                                           of85
                                                              34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page17
                                                         10ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page18
                                                         11ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page19
                                                         12ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page20
                                                         13ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page21
                                                         14ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page22
                                                         15ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page23
                                                         16ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page24
                                                         17ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page25
                                                         18ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page26
                                                         19ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page27
                                                         20ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page28
                                                         21ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page29
                                                         22ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page30
                                                         23ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page31
                                                         24ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page32
                                                         25ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page33
                                                         26ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page34
                                                         27ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page35
                                                         28ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page36
                                                         29ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page37
                                                         30ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page38
                                                         31ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page39
                                                         32ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page40
                                                         33ofof85
                                                                34
Case
 Case6:23-bk-04789-TPG
      6:23-bk-04797-TPG Claim
                         Doc 401
                              23-1 Filed
                                    Filed04/04/24
                                          03/13/24 Page
                                                    Page41
                                                         34ofof85
                                                                34
Case 6:23-bk-04797-TPG   Doc 401   Filed 04/04/24   Page 42 of 85




       Exhibit B
           Case
            Case6:23-bk-04797-TPG
                 6:23-bk-04797-TPG Doc
                                    Doc401
                                        301 Filed
                                             Filed04/04/24
                                                   03/13/24 Page
                                                             Page43
                                                                  1 of 85
                                                                       3




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

In re:

Starboard Group of Space Coast, LLC                         Case No. 6:23-bk-04789-TPG
Starboard Group of Southeast Florida, LLC                   Case No. 6:23-bk-04791-TPG
Starboard Group of Tampa, LLC                               Case No. 6:23-bk-04790-TPG
Starboard Group of Tampa II, LLC                            Case No. 6:23-bk-04793-TPG
Starboard Group of Alabama, LLC                             Case No. 6:23-bk-04792-TPG
Starboard with Cheese, LLC                                  Case No. 6:23-bk-04796-TPG
7 S&M Foods, LLC                                            Case No. 6:23-bk-04798-TPG
9 S&M Foods, LLC                                            Case No. 6:23-bk-04800-TPG
10 S&M Foods, LLC                                           Case No. 6:23-bk-04802-TPG
SBG Burger Opco, LLC;                                       Case No. 6:23-bk-04797-TPG (Lead Case)
                                                            Chapter 11 – Jointly Administered
            Debtors.
_________________________________/

         NOTICE OF FILING PROPOSED ASSUMPTION AND ASSIGNMENT LIST
                                (DOC. NO. 244)

         SBG Burger Opco, LLC (“SBG Burger”); Starboard Group of Space Coast, LLC (“SBG

Space Coast”); Starboard Group of Southeast Florida, LLC (“SBG Southeast”); Starboard

Group of Tampa, LLC (“SBG Tampa”); Starboard Group of Tampa II, LLC (“SBG Tampa

II”); Starboard Group of Alabama, LLC (“SBG Alabama”) and Starboard with Cheese, LLC

(“SBG Cheese”); 7 S & M Foods, LLC (“7SMF”); 9 S&M Foods, LLC (“9SMF”); and 10 S&M

Foods, LLC (“10SMF”) (collectively, the “Debtors”), by counsel, hereby files its “Proposed

Assumption and Assignment List” attached hereto as Exhibit A.

         Specifically, the enclosed is a list of Contracts that may be subject to assumption and

assignment pursuant to any Sale. 1 The Proposed Assumption and Assignment List includes the


1
  All capitalized terms not defined herein shall have the same meaning as ascribed to such term in the Debtors’
Motion for an Order (I) Approving Bid Procedures in Connection with the Sale of Substantially all of the Debtors’
Assets; (II) Approving a Break-Up Fee and Minimum Overbid Amount; (III) Scheduling a Sale Hearing; (IV)
Approving Assumption and Assignment Procedures; and (V) Granting Certain Related Relief (Doc. No. 244) (“the
“Bid Procedures Motion”), as such definition may be amended by any order approving the Bid Procedures Motion.
           Case
            Case6:23-bk-04797-TPG
                 6:23-bk-04797-TPG Doc
                                    Doc401
                                        301 Filed
                                             Filed04/04/24
                                                   03/13/24 Page
                                                             Page44
                                                                  2 of 85
                                                                       3




following information: (1) the contract potentially subject to assumption and assignment; (2) the

counterparties to such contract; (3) the Seller(s)’ good faith estimate of the amount owed under

the contract potentially subject to assumption and assignment; and (4) the cure amount proposed

to be paid in satisfaction of the requirements of 11 U.S.C. § 365. For the avoidance of doubt, the

inclusion of a Contract on the Proposed Assumption and Assignment List does not constitute an

admission that any Contract listed therein is an executory contract or that such Cure Payment

constitutes a claim against the Debtors or a right against any Successful Bidder, all rights thereto

being expressly reserved. Further, the inclusion of a Contract on the Proposed Assumption and

Assignment List is not a guarantee that such contract will ultimately be assumed and assigned to

a Successful Bidder. This Proposed Assumption and Assignment List remains subject to further

revision

       Dated: March 13, 2024.

                                              Respectfully submitted,

                                              /s/Scott A. Underwood
                                              Scott A. Underwood
                                              Florida Bar Number 730041
                                              Thomas M. Messana
                                              Florida Bar Number 991422
                                              Daniel E. Etlinger
                                              Florida Bar Number 77420
                                              UNDERWOOD MURRAY, P.A.
                                              100 N Tampa Street, Ste. 2325
                                              Tampa, FL 33602
                                              (813) 540-8401
                                              Email: sunderwood@underwoodmurray.com
                                                      tmessana@underwoodmurray.com
                                                      detlinger@underwoodmurray.com
                                              Counsel to the Debtors




                                                 2
          Case
           Case6:23-bk-04797-TPG
                6:23-bk-04797-TPG Doc
                                   Doc401
                                       301 Filed
                                            Filed04/04/24
                                                  03/13/24 Page
                                                            Page45
                                                                 3 of 85
                                                                      3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing, that was filed with
the Clerk of Court, has been furnished electronically to those parties registered to receive service
via CM/ECF on March 13, 2024.

                                              /s/ Scott A. Underwood
                                              Scott A. Underwood




                                                 3
Case
Case 6:23-bk-04797-TPG
     6:23-bk-04797-TPG Doc
                       Doc 301-1
                           401 Filed
                                 Filed04/04/24
                                       03/13/24 Page
                                                 Page461 of
                                                         of 85
                                                            33




              Exhibit A
Case
Case 6:23-bk-04797-TPG
     6:23-bk-04797-TPG Doc
                       Doc 301-1
                           401 Filed
                                 Filed04/04/24
                                       03/13/24 Page
                                                 Page472 of
                                                         of 85
                                                            33




Proposed Assumption and
    Assignment List
                                            Case
                                            Case 6:23-bk-04797-TPG
                                                 6:23-bk-04797-TPG Doc
                                                                   Doc 301-1
                                                                       401 Filed
                                                                             Filed04/04/24
                                                                                   03/13/24 Page
                                                                                             Page483 of
                                                                                                     of 85
                                                                                                        33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


             Contract Title                     Debtor Party                        Counterparty Name             Estimated Cure          Proposed Cure
      First Amendment to Lease
                                    Starboard Group of Space Coast, LLC             135 PALM BAY, LLC         $            6,037.96   $             301.90
              Agreement
      First Amendment to Lease
                                    Starboard Group of Space Coast, LLC               1841 US 1 LLC.                       4,685.99   $             234.30
              Agreement
           Operating Lease             Starboard Group of Tampa, LLC                2018 PCG FUND LLC                      4,076.58   $             203.83
      Amended and Restated Net
                                       Starboard Group of Tampa, LLC                   47THLAP, LLC                        4,305.98   $             215.30
         Lease Agreement
           Lease Agreement              S&M JV (7 S&M Foods, LLC)                    7 S&M LAND, LLC                       3,063.67   $             153.18
     First Amendment to Master
                                      Starboard Group of Alabama, LLC             AL QSR RE OWNER LLC                      5,931.76   $             296.59
           Lease Agreement
     First Amendment to Master
                                      Starboard Group of Alabama, LLC             AL QSR RE OWNER LLC                      4,210.12   $             210.51
           Lease Agreement
     First Amendment to Master
                                      Starboard Group of Alabama, LLC             AL QSR RE OWNER LLC                      5,340.97   $             267.05
           Lease Agreement
     First Amendment to Master
                                      Starboard Group of Alabama, LLC             AL QSR RE OWNER LLC                      4,976.95   $             248.85
           Lease Agreement
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           ARC CAFEUSA001, LLC.                     2,108.48   $             105.42
              Agreement
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           ARC CAFEUSA001, LLC.                     2,480.56   $             124.03
              Agreement
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           ARC CAFEUSA001, LLC.                     2,935.34   $             146.77
              Agreement
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           ARC CAFEUSA001, LLC.                     2,893.99   $             144.70
              Agreement
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           ARC CAFEUSA001, LLC.                     2,769.96   $             138.50
              Agreement
    Amended and Restated Ground
                                      Starboard Group of Tampa II, LLC        B&B CASH GROCERY STORES, INC.                3,793.37   $             189.67
                Lease
           Lease Agreement           Starboard Group With Cheese, LLC               BEACON MANNA LLC                       4,201.11   $             210.06
     Lease Agreement and Option
                                  Starboard Group of Southeast Florida, LLC             BT FOODS                           7,483.47   $             374.17
              Exercise
        Amendment to Lease
                                    Starboard Group of Space Coast, LLC           CE-BETT ST. LUCIE, LLC.                  5,046.53   $             252.33
             Agreement
           Operating Lease        Starboard Group of Southeast Florida, LLC        COLONIAL SUITES, LLC                    6,068.26   $             303.41

           Operating Lease        Starboard Group of Southeast Florida, LLC        COLONIAL SUITES, LLC                    8,465.40   $             423.27

           Operating Lease        Starboard Group of Southeast Florida, LLC        COLONIAL SUITES, LLC                    4,341.06   $             217.05




B. Riley Advisory Services                                                                                                                          Page 1 of 31
                                             Case
                                             Case 6:23-bk-04797-TPG
                                                  6:23-bk-04797-TPG Doc
                                                                    Doc 301-1
                                                                        401 Filed
                                                                              Filed04/04/24
                                                                                    03/13/24 Page
                                                                                              Page494 of
                                                                                                      of 85
                                                                                                         33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                       Debtor Party                           Counterparty Name           Estimated Cure          Proposed Cure
           Operating Lease         Starboard Group of Southeast Florida, LLC          COLONIAL SUITES, LLC                   6,041.35   $             302.07

           Operating Lease         Starboard Group of Southeast Florida, LLC          COLONIAL SUITES, LLC                   7,268.99   $             363.45

           Operating Lease         Starboard Group of Southeast Florida, LLC          COLONIAL SUITES, LLC                   5,735.32   $             286.77

           Operating Lease         Starboard Group of Southeast Florida, LLC          COLONIAL SUITES, LLC                   7,268.99   $             363.45

           Operating Lease         Starboard Group of Southeast Florida, LLC          COLONIAL SUITES, LLC                   6,268.08   $             313.40

                Lease                  Starboard Group of Alabama, LLC                DC OIL COMPANY INC                     4,153.48   $             207.67
      First Amendment to Ground
                                       Starboard Group of Tampa II, LLC               DNK UNITED TWO LLC                     2,494.53   $             124.73
                Lease
            Ground Lease             Starboard Group of Space Coast, LLC                  EHDEN, N.V.                        2,027.05   $             101.35
     Memorandum of Lease and
                                       Starboard Group of Alabama, LLC              EIDSON PROPERTIES, LLC.                  1,733.33   $              86.67
         Assignment of Lease
         Operating Lease and
                                     Starboard Group of Space Coast, LLC              EJT ENTERPRISES, LLC                   5,576.46   $             278.82
        Memorandum of Lease
    First Amendment to Operating
                                       Starboard Group of Tampa II, LLC                FICA HOLDINGS, LLC                    5,646.24   $             282.31
                Lease
        Memorandum of Lease          Starboard Group of Space Coast, LLC       FIRST NATIONAL BANK OF SOUTH MIAMI            3,107.58   $             155.38
        Shopping Center Lease
                                        Starboard Group of Tampa, LLC            FLORIDA WATERS EAST SDC, LLC                4,578.56   $             228.93
             Agreement
         Amendment to Lease
                                     Starboard Group of Space Coast, LLC              FMJ PROPERTIES LLC                     3,461.25   $             173.06
             Agreement
         Amendment to Lease          Starboard Group of Space Coast, LLC              GUTHRIE REALTY, LLC.                   3,461.25   $             173.06
       Assignment of Lease and
                                     Starboard Group of Space Coast, LLC       INTERVEST-NORTHMILL PARTNERS, LLC             3,096.86   $             154.84
              Consent
        Assignment Agreement            Starboard Group of Tampa, LLC                 J & N PROPERTIES, LLC                  5,510.47   $             275.52
      First Amendment to Lease
                                       Starboard Group of Alabama, LLC                     JMC III, LLC.                     4,401.60   $             220.08
              Agreement
    Assignment and Assumption of
                                        Starboard Group of Tampa, LLC                      JN 159 LLC                        6,486.84   $             324.34
                Lease
           Store 704 Lease            Starboard Group With Cheese, LLC                 LION PETROLEUM IN                     2,653.61   $             132.68

         Assignment of Lease         Starboard Group of Space Coast, LLC                 LUSTBERG, LLC.                      4,290.26   $             214.51




B. Riley Advisory Services                                                                                                                            Page 2 of 31
                                              Case
                                              Case 6:23-bk-04797-TPG
                                                   6:23-bk-04797-TPG Doc
                                                                     Doc 301-1
                                                                         401 Filed
                                                                               Filed04/04/24
                                                                                     03/13/24 Page
                                                                                               Page505 of
                                                                                                       of 85
                                                                                                          33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                        Debtor Party                       Counterparty Name          Estimated Cure             Proposed Cure
         Amendment to Lease           Starboard Group of Space Coast, LLC       MAYFAIR SHIP SUPPLIES, INC.              4,109.90   $                205.49

           Store 705 Lease             Starboard Group With Cheese, LLC            MICHAEL D. QUAGLIANO                  6,473.08   $                323.65
       Assignment of Lease and
                                      Starboard Group of Space Coast, LLC            PSL - WENDYS, LLC.                  5,189.84   $                259.49
              Consent
         Addendum to Lease            Starboard Group of Space Coast, LLC           RBM PALM BAY, LLC.                   4,926.43   $                246.32
    Lease Agreement; Assignment
                                          S&M JV (9 S&M Foods, LLC)                  S&M HOLDINGS LLC                    6,521.86   $                326.09
               Notice
     Lease Agreement (Corrected)         S&M JV (10 S&M Foods, LLC)                  S&M HOLDINGS LLC                    4,875.42   $                243.77
    Assignment and Assumption of
                                        Starboard Group of Alabama, LLC                   SKYDANCE                       3,743.55   $                187.18
               Lease
           Operating Lease            Starboard Group of Space Coast, LLC         STATE STREET EAST, LLC.                4,919.79   $                245.99

           Operating Lease              Starboard Group of Alabama, LLC             SUKHJINDER S. BOLA                   2,636.11   $                131.81
    Assignment and Assumption of
                                         Starboard Group of Tampa, LLC            THREE T REALTY 124, LLC                6,301.62   $                315.08
    Lease; Tenant Notice - Change
      Assignment of Lease and
                                      Starboard Group of Space Coast, LLC          V & S REALTY CO, INC.                 3,514.21   $                175.71
              Consent
      Assignment of Lease and
                                      Starboard Group of Space Coast, LLC          V & S REALTY CO, INC.                 3,918.75   $                195.94
              Consent
      Assignment of Lease and
                                      Starboard Group of Space Coast, LLC       WENDY'S INTERNATIONAL, INC.              6,877.58   $                343.88
              Consent
         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        Starboard Group of Southeast Florida, LLC      Quality Is Our Recipe, LLC              698.40   0.00




B. Riley Advisory Services                                                                                                                           Page 3 of 31
                                         Case
                                         Case 6:23-bk-04797-TPG
                                              6:23-bk-04797-TPG Doc
                                                                Doc 301-1
                                                                    401 Filed
                                                                          Filed04/04/24
                                                                                03/13/24 Page
                                                                                          Page516 of
                                                                                                  of 85
                                                                                                     33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              698.40   0.00




B. Riley Advisory Services                                                                                                                   Page 4 of 31
                                       Case
                                       Case 6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                              Doc 301-1
                                                                  401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page527 of
                                                                                                of 85
                                                                                                   33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              594.93   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC              698.40   0.00




B. Riley Advisory Services                                                                                                               Page 5 of 31
                                         Case
                                         Case 6:23-bk-04797-TPG
                                              6:23-bk-04797-TPG Doc
                                                                Doc 301-1
                                                                    401 Filed
                                                                          Filed04/04/24
                                                                                03/13/24 Page
                                                                                          Page538 of
                                                                                                  of 85
                                                                                                     33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement         S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement         S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              514.75   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              514.75   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              514.75   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              698.40   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              514.75   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              514.75   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              465.60   0.00




B. Riley Advisory Services                                                                                                                   Page 6 of 31
                                         Case
                                         Case 6:23-bk-04797-TPG
                                              6:23-bk-04797-TPG Doc
                                                                Doc 301-1
                                                                    401 Filed
                                                                          Filed04/04/24
                                                                                03/13/24 Page
                                                                                          Page549 of
                                                                                                  of 85
                                                                                                     33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              465.60   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              787.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            1,149.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              930.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            3,081.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            1,946.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            4,692.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            2,591.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            1,064.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              983.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            1,729.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            1,906.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            1,019.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            4,276.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            1,597.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            1,246.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            2,090.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            5,829.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            4,314.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            3,794.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            3,043.00   0.00




B. Riley Advisory Services                                                                                                                   Page 7 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page55
                                                                                             10ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,990.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               962.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,327.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             1,299.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             2,936.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             2,607.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             2,469.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             1,846.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             3,382.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             1,427.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             3,101.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               969.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC             3,437.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC             2,031.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC             1,502.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC             2,873.00   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC             1,292.00   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC             2,579.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC             2,284.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               702.00   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC             2,159.00   0.00




B. Riley Advisory Services                                                                                                                Page 8 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page56
                                                                                                11ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,127.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,001.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,293.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,854.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,604.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,636.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              405.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,451.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              653.00   0.00

         Franchise Agreement         S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC              766.00   0.00

         Franchise Agreement         S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC            2,062.00   0.00

         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             Quality Is Our Recipe, LLC              571.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              836.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            1,656.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              792.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            2,417.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            1,719.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            2,612.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            1,304.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              721.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              701.00   0.00




B. Riley Advisory Services                                                                                                                   Page 9 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page57
                                                                                                12ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure              Proposed Cure
         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              658.00    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            1,776.00    0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            1,426.00    0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            1,691.00    0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            1,180.00    0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              473.00    0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,080.00    0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            1,602.00    0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              895.00    0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            3,255.00    0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC                    -   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            5,224.86    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            7,541.45    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            5,601.49    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            6,322.29    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            5,648.47    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            5,809.35    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            6,113.62    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            6,051.69    0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            5,293.67    0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC            8,296.17    0.00




B. Riley Advisory Services                                                                                                                   Page 10 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page58
                                                                                             13ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             9,563.76   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             6,759.65   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             7,839.42   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             8,492.14   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             7,033.82   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             6,667.31   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             8,024.61   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             9,437.91   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             6,913.71   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             4,694.94   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,237.32   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             3,366.37   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,320.08   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,273.81   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,947.41   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,683.27   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,643.04   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             5,589.66   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             8,152.46   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             6,155.52   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC             7,437.54   0.00




B. Riley Advisory Services                                                                                                               Page 11 of 31
                                    Case
                                     Case6:23-bk-04797-TPG
                                          6:23-bk-04797-TPG Doc
                                                             Doc301-1
                                                                 401 Filed
                                                                      Filed04/04/24
                                                                            03/13/24 Page
                                                                                      Page59
                                                                                           14ofof85
                                                                                                  33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title              Debtor Party                     Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            4,664.39   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            7,293.01   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            5,883.65   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            5,607.36   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            5,643.86   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC            6,578.62   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC            6,202.52   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            9,723.21   0.00

         Franchise Agreement   Starboard Group of Tampa, LLC           Quality Is Our Recipe, LLC            6,284.67   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC            6,565.77   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            6,370.85   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            5,321.85   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           12,654.09   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            7,541.34   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            9,509.97   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            9,667.58   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            5,020.10   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            6,239.54   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            5,945.88   0.00

         Franchise Agreement     S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC            7,159.95   0.00

         Franchise Agreement     S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC            9,749.44   0.00




B. Riley Advisory Services                                                                                                              Page 12 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page60
                                                                                                15ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             Quality Is Our Recipe, LLC            4,447.51   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            3,171.41   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            4,419.81   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            3,917.55   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            8,625.56   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            3,689.79   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            5,219.90   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            3,181.39   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            4,317.65   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            2,338.82   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            1,953.70   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            2,470.82   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            2,516.96   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            2,273.64   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC            2,321.01   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            1,889.88   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            2,003.53   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            2,448.60   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            2,256.69   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            2,720.28   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           31,286.81   0.00




B. Riley Advisory Services                                                                                                                  Page 13 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page61
                                                                                                16ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           45,627.95   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           34,114.01   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           38,277.18   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           33,964.79   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           35,265.33   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           34,096.06   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           37,414.38   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           31,803.77   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           49,136.98   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           58,477.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           41,450.98   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           48,213.43   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           51,780.15   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           42,902.40   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           40,516.22   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           49,178.48   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           55,706.53   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           41,250.21   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           28,273.98   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           30,988.81   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC           19,458.88   0.00




B. Riley Advisory Services                                                                                                                  Page 14 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page62
                                                                                             17ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            32,740.06   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            31,805.59   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            35,066.83   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            34,343.15   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            33,849.29   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            32,404.96   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            47,895.57   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            36,396.01   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC            45,326.41   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            23,625.86   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            40,716.59   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            33,252.88   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            32,066.75   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            28,936.27   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC            36,408.06   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC            33,432.74   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            54,241.94   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC            30,739.54   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC            36,456.90   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC            39,851.34   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC            30,619.25   0.00




B. Riley Advisory Services                                                                                                               Page 15 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page63
                                                                                                18ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           54,282.83   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           36,730.69   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           29,961.16   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           30,135.02   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           23,765.97   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           36,002.81   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC           25,068.44   0.00

         Franchise Agreement         S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC           20,599.91   0.00

         Franchise Agreement         S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC           40,001.40   0.00

         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             Quality Is Our Recipe, LLC           27,130.89   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           17,402.10   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           18,251.97   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           22,118.44   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           52,275.94   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           19,434.62   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           31,308.51   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           16,833.86   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           18,804.68   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           10,591.23   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC            8,860.72   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC           11,220.75   0.00




B. Riley Advisory Services                                                                                                                  Page 16 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page64
                                                                                                19ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC           11,858.25   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC           10,054.03   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC           10,387.52   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            8,880.05   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC            8,497.61   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           11,139.53   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC            9,722.69   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC           12,662.15   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              765.00   0.00




B. Riley Advisory Services                                                                                                                  Page 17 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page65
                                                                                             20ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               765.00   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               765.00   0.00




B. Riley Advisory Services                                                                                                               Page 18 of 31
                                     Case
                                      Case6:23-bk-04797-TPG
                                           6:23-bk-04797-TPG Doc
                                                              Doc301-1
                                                                  401 Filed
                                                                       Filed04/04/24
                                                                             03/13/24 Page
                                                                                       Page66
                                                                                            21ofof85
                                                                                                   33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title               Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement    Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement    Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              651.67   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement    Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement    Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Tampa II, LLC        Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement     S&M JV (10 S&M Foods, LLC)            Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement   Starboard Group With Cheese, LLC        Quality Is Our Recipe, LLC              563.83   0.00

         Franchise Agreement   Starboard Group With Cheese, LLC        Quality Is Our Recipe, LLC              563.83   0.00




B. Riley Advisory Services                                                                                                              Page 19 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page67
                                                                                                22ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              563.83   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              765.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              563.83   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              563.83   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              510.00   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00




B. Riley Advisory Services                                                                                                                  Page 20 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page68
                                                                                                23ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       Quality Is Our Recipe, LLC              176.87   0.00




B. Riley Advisory Services                                                                                                                  Page 21 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page69
                                                                                             24ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC     Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC         Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC       Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC               176.87   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC        Quality Is Our Recipe, LLC               176.87   0.00




B. Riley Advisory Services                                                                                                               Page 22 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page70
                                                                                                25ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement         S&M JV (7 S&M Foods, LLC)             Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement         S&M JV (9 S&M Foods, LLC)             Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          Quality Is Our Recipe, LLC              176.87   0.00




B. Riley Advisory Services                                                                                                                  Page 23 of 31
                                           Case
                                            Case6:23-bk-04797-TPG
                                                 6:23-bk-04797-TPG Doc
                                                                    Doc301-1
                                                                        401 Filed
                                                                             Filed04/04/24
                                                                                   03/13/24 Page
                                                                                             Page71
                                                                                                  26ofof85
                                                                                                         33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                     Debtor Party                    Counterparty Name          Estimated Cure             Proposed Cure
         Franchise Agreement         Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement         Starboard Group of Alabama, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00

         Franchise Agreement        Starboard Group With Cheese, LLC         Quality Is Our Recipe, LLC              176.87   0.00
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               5,982.36   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               8,250.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               5,906.79   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               5,871.51   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               5,930.36   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               4,105.92   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               8,194.17   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC   Wendy’s Technology, LLC               6,000.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,187.08   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,004.75   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               5,990.55   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,250.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,177.19   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,250.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Space Coast, LLC       Wendy’s Technology, LLC               8,250.00   0.00
         Services Agreement




B. Riley Advisory Services                                                                                                                    Page 24 of 31
                                        Case
                                         Case6:23-bk-04797-TPG
                                              6:23-bk-04797-TPG Doc
                                                                 Doc301-1
                                                                     401 Filed
                                                                          Filed04/04/24
                                                                                03/13/24 Page
                                                                                          Page72
                                                                                               27ofof85
                                                                                                      33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


           Contract Title                   Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                8,250.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                8,237.22   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                8,250.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                5,977.40   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                8,115.24   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Space Coast, LLC     Wendy’s Technology, LLC                8,250.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                4,093.67   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                5,988.14   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                   Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                3,474.92   0.00
         Services Agreement
       Technology Products and
                                  Starboard Group of Tampa II, LLC       Wendy’s Technology, LLC                5,947.05   0.00
         Services Agreement




B. Riley Advisory Services                                                                                                                 Page 25 of 31
                                       Case
                                        Case6:23-bk-04797-TPG
                                             6:23-bk-04797-TPG Doc
                                                                Doc301-1
                                                                    401 Filed
                                                                         Filed04/04/24
                                                                               03/13/24 Page
                                                                                         Page73
                                                                                              28ofof85
                                                                                                     33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


           Contract Title                  Debtor Party                   Counterparty Name           Estimated Cure             Proposed Cure
       Technology Products and
                                 Starboard Group of Tampa II, LLC       Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                  Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                8,202.00   0.00
         Services Agreement
       Technology Products and
                                  Starboard Group of Tampa, LLC         Wendy’s Technology, LLC                5,979.08   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Tampa II, LLC       Wendy’s Technology, LLC                6,000.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                6,240.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                6,240.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                8,580.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                6,240.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                4,290.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                4,290.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                6,200.51   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                4,290.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Alabama, LLC        Wendy’s Technology, LLC                6,203.00   0.00
         Services Agreement
       Technology Products and
                                   S&M JV (7 S&M Foods, LLC)            Wendy’s Technology, LLC                4,290.00   0.00
         Services Agreement
       Technology Products and
                                   S&M JV (9 S&M Foods, LLC)            Wendy’s Technology, LLC                8,580.00   0.00
         Services Agreement
       Technology Products and
                                   S&M JV (10 S&M Foods, LLC)           Wendy’s Technology, LLC                4,290.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group With Cheese, LLC       Wendy’s Technology, LLC                3,786.21   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group With Cheese, LLC       Wendy’s Technology, LLC                3,513.89   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group With Cheese, LLC       Wendy’s Technology, LLC                4,125.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group With Cheese, LLC       Wendy’s Technology, LLC                8,859.09   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group With Cheese, LLC       Wendy’s Technology, LLC                5,499.86   0.00
         Services Agreement




B. Riley Advisory Services                                                                                                                Page 26 of 31
                                           Case
                                            Case6:23-bk-04797-TPG
                                                 6:23-bk-04797-TPG Doc
                                                                    Doc301-1
                                                                        401 Filed
                                                                             Filed04/04/24
                                                                                   03/13/24 Page
                                                                                             Page74
                                                                                                  29ofof85
                                                                                                         33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


           Contract Title                      Debtor Party                               Counterparty Name                   Estimated Cure             Proposed Cure
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         4,485.93   0.00
         Services Agreement
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         3,768.65   0.00
         Services Agreement
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         5,392.22   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC             Wendy’s Technology, LLC                         2,738.57   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC             Wendy’s Technology, LLC                         2,750.00   0.00
         Services Agreement
       Technology Products and
                                 Starboard Group of Southeast Florida, LLC             Wendy’s Technology, LLC                         2,750.00   0.00
         Services Agreement
       Technology Products and
                                      Starboard Group of Tampa, LLC                    Wendy’s Technology, LLC                         2,750.00   0.00
         Services Agreement
       Technology Products and
                                      Starboard Group of Tampa, LLC                    Wendy’s Technology, LLC                         2,736.68   0.00
         Services Agreement
       Technology Products and
                                      Starboard Group of Tampa, LLC                    Wendy’s Technology, LLC                         2,729.21   0.00
         Services Agreement
       Technology Products and
                                     Starboard Group of Alabama, LLC                   Wendy’s Technology, LLC                         2,860.00   0.00
         Services Agreement
       Technology Products and
                                     Starboard Group of Alabama, LLC                   Wendy’s Technology, LLC                         2,860.00   0.00
         Services Agreement
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         3,018.12   0.00
         Services Agreement
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         2,887.50   0.00
         Services Agreement
       Technology Products and
                                    Starboard Group With Cheese, LLC                   Wendy’s Technology, LLC                         2,901.26   0.00
         Services Agreement
         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           32,087.83   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           46,728.09   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           34,812.63   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           38,951.89   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           34,769.65   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           36,113.18   0.00

         Franchise Agreement     Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           34,557.20   0.00




B. Riley Advisory Services                                                                                                                                        Page 27 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page75
                                                                                                30ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                               Counterparty Name                   Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           37,754.29   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           32,591.57   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           49,961.53   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           59,130.39   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           41,989.50   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           48,683.55   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           52,640.89   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           43,543.05   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           41,101.38   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           49,794.42   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           56,771.44   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           41,636.04   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           28,903.13   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           31,713.84   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           20,168.78   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           33,086.03   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           32,639.36   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           35,496.36   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           35,058.14   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           34,568.92   0.00

         Franchise Agreement     Starboard Group of Space Coast, LLC       The Wendy’s National Advertising Program, Inc.           33,527.02   0.00




B. Riley Advisory Services                                                                                                                                      Page 28 of 31
                                      Case
                                       Case6:23-bk-04797-TPG
                                            6:23-bk-04797-TPG Doc
                                                               Doc301-1
                                                                   401 Filed
                                                                        Filed04/04/24
                                                                              03/13/24 Page
                                                                                        Page76
                                                                                             31ofof85
                                                                                                    33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                Debtor Party                            Counterparty Name                   Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group of Space Coast, LLC   The Wendy’s National Advertising Program, Inc.           48,932.01   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC   The Wendy’s National Advertising Program, Inc.           36,774.90   0.00

         Franchise Agreement   Starboard Group of Space Coast, LLC   The Wendy’s National Advertising Program, Inc.           46,131.39   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           23,988.04   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           41,201.55   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           33,579.14   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           32,158.05   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           29,711.87   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC     The Wendy’s National Advertising Program, Inc.           37,207.34   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC     The Wendy’s National Advertising Program, Inc.           33,735.38   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           55,048.32   0.00

         Franchise Agreement     Starboard Group of Tampa, LLC       The Wendy’s National Advertising Program, Inc.           31,165.24   0.00

         Franchise Agreement    Starboard Group of Tampa II, LLC     The Wendy’s National Advertising Program, Inc.           37,278.10   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           40,066.79   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           31,070.36   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           55,098.77   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           37,411.56   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           30,363.04   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           30,916.03   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           24,120.93   0.00

         Franchise Agreement    Starboard Group of Alabama, LLC      The Wendy’s National Advertising Program, Inc.           36,235.82   0.00




B. Riley Advisory Services                                                                                                                                Page 29 of 31
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc301-1
                                                                      401 Filed
                                                                           Filed04/04/24
                                                                                 03/13/24 Page
                                                                                           Page77
                                                                                                32ofof85
                                                                                                       33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title                   Debtor Party                               Counterparty Name                   Estimated Cure             Proposed Cure
         Franchise Agreement       Starboard Group of Alabama, LLC         The Wendy’s National Advertising Program, Inc.           25,733.89   0.00

         Franchise Agreement         S&M JV (7 S&M Foods, LLC)             The Wendy’s National Advertising Program, Inc.           21,165.77   0.00

         Franchise Agreement         S&M JV (9 S&M Foods, LLC)             The Wendy’s National Advertising Program, Inc.           40,982.75   0.00

         Franchise Agreement        S&M JV (10 S&M Foods, LLC)             The Wendy’s National Advertising Program, Inc.           27,608.45   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           18,691.62   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           19,895.39   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           22,589.33   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           51,176.07   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           21,274.16   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           30,844.81   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           18,438.58   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           21,288.93   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           13,051.79   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           10,810.69   0.00

         Franchise Agreement   Starboard Group of Southeast Florida, LLC   The Wendy’s National Advertising Program, Inc.           13,781.85   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          The Wendy’s National Advertising Program, Inc.           13,995.55   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          The Wendy’s National Advertising Program, Inc.           12,285.40   0.00

         Franchise Agreement        Starboard Group of Tampa, LLC          The Wendy’s National Advertising Program, Inc.           12,874.74   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         The Wendy’s National Advertising Program, Inc.           10,858.17   0.00

         Franchise Agreement       Starboard Group of Alabama, LLC         The Wendy’s National Advertising Program, Inc.           10,821.31   0.00

         Franchise Agreement      Starboard Group With Cheese, LLC         The Wendy’s National Advertising Program, Inc.           13,774.13   0.00




B. Riley Advisory Services                                                                                                                                      Page 30 of 31
                                     Case
                                      Case6:23-bk-04797-TPG
                                           6:23-bk-04797-TPG Doc
                                                              Doc301-1
                                                                  401 Filed
                                                                       Filed04/04/24
                                                                             03/13/24 Page
                                                                                       Page78
                                                                                            33ofof85
                                                                                                   33


SBG Burger Opco, LLC, et al., Debtors
United States Bankruptcy Court - Middle District of Florida - Orlando Division
Case No. 6:23-bk-04797-TPG - Jointly Administered


            Contract Title               Debtor Party                          Counterparty Name                   Estimated Cure             Proposed Cure
         Franchise Agreement   Starboard Group With Cheese, LLC   The Wendy’s National Advertising Program, Inc.           12,240.76   0.00

         Franchise Agreement   Starboard Group With Cheese, LLC   The Wendy’s National Advertising Program, Inc.           15,328.98   0.00




B. Riley Advisory Services                                                                                                                             Page 31 of 31
Case 6:23-bk-04797-TPG   Doc 401   Filed 04/04/24   Page 79 of 85




       Exhibit C
           Case
            Case6:23-bk-04797-TPG
                 6:23-bk-04797-TPG Doc
                                    Doc401
                                        335 Filed
                                             Filed04/04/24
                                                   03/25/24 Page
                                                             Page80
                                                                  1 of 85
                                                                       6



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov
In re:

Starboard Group of Space Coast                           Case No. 6:23-bk-04789
Starboard Group of Tampa, LLC                            Case No. 6:23-bk-04790
Starboard Group of Southeast Florida, LLC                Case No. 6:23-bk-04791
Starboard Group of Alabama, LLC                          Case No. 6:23-bk-04792
Starboard Group of Tampa II, LLC                         Case No. 6:23-bk-04793
Starboard with Cheese, LLC                               Case No. 6:23-bk-04796
7 S & M Foods, LLC                                       Case No. 6:23-bk-04798
9 S & M Foods, LLC                                       Case No. 6:23-bk-04800
10 S & M Foods, LLC                                      Case No. 6:23-bk-04802
SBG Burger Opco, LLC                                     Case No. 6:23-bk-04797 (Lead Case)

          Debtors.                                       Chapter 11 – Jointly Administered
                                         /

                                CERTIFICATE OF SERVICE

        I, Sabrina G. Tu, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

        On March 22, 2024, at my direction and under my supervision, employees of Stretto caused
the following documents to be served via first-class mail on the service list attached hereto as
Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

        Order Granting Debtors’ Motion for an Order (I) Approving Bid Procedures in
         Connection with the Sale of Substantially All of the Debtors’ Assets; (II) Approving
         a Break-Up Fee and Minimum Overbid Amount; (III) Scheduling a Sale Hearing;
         (IV) Approving Assumption and Assignment Procedures; and (V) Granting Certain
         Related Relief (Docket No. 327)

        Debtors’ Second Motion to Extend Claims Bar Date for Debtors to File Intercompany
         Claims (Docket No. 330)

Dated: March 25, 2024                                          /s/ Sabrina G. Tu
                                                               Sabrina G. Tu
                                                               STRETTO
                                                               410 Exchange, Suite 100
                                                               Irvine, CA 92602
                                                               888-585-3807
                                                               StarboardInquiries@stretto.com
Case
 Case6:23-bk-04797-TPG
      6:23-bk-04797-TPG Doc
                         Doc401
                             335 Filed
                                  Filed04/04/24
                                        03/25/24 Page
                                                  Page81
                                                       2 of 85
                                                            6




                      Exhibit A
                                              Case
                                               Case6:23-bk-04797-TPG
                                                    6:23-bk-04797-TPG Doc
                                                                       Doc401
                                                                           335 Filed
                                                                                Filed04/04/24
                                                                                      03/25/24 Page
                                                                                                Page82
                                                                                                     3 of 85
                                                                                                          6
                                                                                          Exhibit A
                                                                                     Served Via First-Class Mail
                    NAME                                    ATTENTION                                    ADDRESS 1                ADDRESS 2                 CITY        STATE     ZIP
 AL QSR RE OWNER LLC                        ATTN: MARTIN EPSTEIN                          100 MERRICK ROAD                SUITE 202E                ROCKVILLE CENTRE    NY    11570
 AYDELOTT EQUIPMENT, INC.                   ATTN: HERB AYDELOTT                           119 COMPARK ROAD                                          CENTERVILLE         OH    45459
 BEACON MANNA LLC [SHOU-CHEN LIN]           ATTN: ERIC LEE                                5405 ALTON PARKWAY              SUITE A507                IRVINE              CA    92604
 BECKER & POLIAKOFF                         JON POLENBERG                                 1 EAST BROWARD BLVD                                       FORT LAUDERDALE     FL    33301
                                                                                                                          1450 BRICKELL AVENUE
 BERKOWITZ POLLACK BRANT ADVISORS + CPAS C/O BERGER SINGERMAN LLP                         ATTN: PAUL S. SINGERMAN, ESQ.   SUITE 1900                MIAMI               FL    33131
 BERKOWITZ POLLACK BRANT ADVISORS AND
 ACCOUNTANTS                             ATTN LEGAL                                       PO BOX 735244                                             DALLAS              TX    75373-5244
 BERKOWITZ POLLACK BRANT ADVISORS AND
 ACCOUNTANTS                             ATTN: RICHARD POLLACK                            200 S. BISCAYNE BLVD            7TH AND 8TH FLOORS        MIAMI               FL    33131
 BIMBO QSR OHIO, LLC                     ATTN: MARK BENDIX, PRESIDENT                     3005 E POINTE DRIVE                                       ZANESVILLE          OH    43701-7263
 BIMBO QSR OHIO, LLC                                                                      28424 NETWORK PLACE                                       CHICAGO             IL    60673-1284
 BLACKSTONE MECHANICAL CORP                                                               111 TOWN SQUARE PLACE                                     JERSEY CITY         NJ    07310
 BP ENVIRONMENTAL SERVICES, INC.         ATTN LEGAL                                       PO BOX 188                                                CHALFONT            PA    18914
 BP ENVIRONMENTAL SERVICES, INC.         LOU PELLEGRINO, CEO                              100 HIGHPOINT DRIVE                                       CHALFONT            PA    18914
 BREVARD COUNTY TAX COLLECTOR            ATTN: LEGAL                                      PO BOX 2500                                               TITUSVILLE          FL    32781-2500
 BREVARD COUNTY TAX COLLECTOR            ATTN: LISA CULLEN, ALICIA FOLEY                  400 SOUTH STREET                6TH FLOOR                 TITUSVILLE          FL    32780
 CD MAINTENANCE COMPANY, INC             ATTN: LEGAL DEPARTMENT                           2170 W STATE ROAD 434           STE 450                   LONGWOOD            FL    32779-5030
 DAVE THOMAS FOUNDATION FOR ADOPTION     MELINDA HAGGERTY, GENERAL COUNSEL                4900 TUTTLE CROSSING BLVD                                 DUBLIN              OH    43016
 DEPARTMENT OF TREASURY - INTERNAL
 REVENUE SERVICE                                                                          PO BOX 7346                                               PHILADELPHIA        PA    19101-7346
 ECOLAB (PEST ELIMINATION)               ATTN: LANESHA MINNIX, GENERAL COUNSEL            1 ECOLAB PLACE                                            ST PAUL             MN    55102
 ECOLAB (PEST ELIMINATION)                                                                26252 NETWORK PLACE                                       CHICAGO             IL    60673-1262
 GRIDPOINT, INC,                         ATTN: TOM NELSON, GENERAL COUNSEL                11921 FREEDOM DRIVE             SUITE 1120                RESTON              VA    20190
 HILLSBOROUGH COUNTY TAX COLLECTOR       ATTN: NANCY C. MILLAN, TAX COLLECTOR             2506 N. FALKENBURG ROAD                                   TAMPA               FL    33619
 JACKSON LEWIS LLP                       ATTN LEGAL                                       PO BOX 416019                                             BOSTON              MA    02241-6019
 JACKSON LEWIS LLP                       STEPHANIE L. ADLER-PAINDIRIS                     390 N. ORANGE AVENUE            SUITE 1285                ORLANDO             FL    32801
 K & M OF SOUTH FLORIDA, INC.            ATTN: MARIO LORENZO                              719 SOUTH 15TH AVENUE                                     HOLLYWOOD           FL    33020
 LIFE SAFETY ENGINEERED SYSTEMS, INC     ATTN: ANGEL VEZINA, CEO                          60 SONWIL DRIVE                                           BUFFALO             NY    14225
 LOOMIS ARMORED US, LLC.                 ATTN: LEGAL DEPARTMENT                           DEPT. CH. 10500                                           PALATINE            IL    60055
 LOOMIS ARMORED US, LLC.                 BJÖRN ZÜGE, PRESIDENT AND CEO                    2500 CITYWEST BLVD              SUITE 2300                HOUSTON             TX    77042
 MATTHEW MARANO                                                                           PO BOX 297168                                             PEMBROKE PINES      FL    33029
 MATTHEW MARANO DBA MATTEOS LANDSCAPING
 CO, INC.                                ATTN: MATTHEW MARANO                             PO BOX 297168                                             SOUTHWEST RANCHES   FL    33332
 MCS COMMERCIAL, LLC                     ATTN: ANDREW NOLAN AND JON M. LIPPARD            350 HIGHLAND DR                 SUITE 100                 LEWISVILLE          TX    75067
 NANCY C. MILLAN, TAX COLLECTOR
 [HILLSBOROUGH COUNTY TAX COLLECTOR]     ATTN LEGAL                                       PO BOX 30012                                              TAMPA               FL    33630-3012
 NCR CORPORATION                         ATTN LEGAL                                       PO BOX 198755                                             ATLANTA             GA    30384-8755
 NCR CORPORATION                         ATTN: KELLI STERRETT, GENERAL COUNSEL            864 SPRING ST NW                                          ATLANTA             GA    30308
 SHUTTS & BOWEN LLP                      ATTN LEGAL                                       PO BOX 919770                                             ORLANDO             FL    32891-9770
 SHUTTS & BOWEN LLP                      ATTN: MARY RUTH HOUSTON                          300 SOUTH ORANGE AVENUE         SUITE 1600                ORLANDO             FL    32801
 SOUTHEASTERN FOOD MERCHANDISERS, LP     JIM ACOMB, GENERAL MANAGER                       201 PARKER DRIVE                                          PELHAM              AL    35124
 SYGMA NETWORK                           ATTN: JIM PROCUNIAR, PRESIDENT                   5550 BLAZER PARKWAY                                       DUBLIN              OH    43017
 SYNERGI PARTNERS, INC.                  ATTN LEGAL                                       PO BOX 75595                                              CHICAGO             IL    60675-5595
 SYNERGI PARTNERS, INC.                  ATTN: ASHLEY HOGSETTE, CHRISTEL LAYTON           151 W. EVANS ST.                                          FLORENCE            SC    29501
                                                                                                                          110 EAST MADISON STREET
 THREE T REALTY 124, LLC                    C/O STICHTER, RIEDEL, BLAIN & POSTLER, P.A.   ATTN: SCOTT A. STICHTER         SUITE 200                 TAMPA               FL    33602
 U.S. SECURITIES & EXCHANGE COMMISSION      OFFICE OF REORGANIZATION                      950 EAST PACES FERRY ROAD NE    SUITE 900                 ATLANTA             GA    30326-1382
 U.S. SMALL BUSINESS ADMINISTRATION                                                       7825 BAYMEADOWS WAY             SUITE 100-B               JACKSONVILLE        FL    32256
 UNITED HEALTHCARE INSURANCE COMPANY        ATTN LEGAL                                    PO BOX 94017                                              PALATINE            IL    60094-4017
 UNITED HEALTHCARE INSURANCE COMPANY        RUPERT BONDY, CHIEF LEGAL OFFICER             9900 BREN RD E                                            MINNETONKA          MN    55343
 US ATTORNEY’S OFFICE FOR THE DISTRICT OF
 FLORIDA                                    ATTN: CIVIL PROCESS CLERK                     400 WEST WASHINGTON STREET      SUITE 3100                ORLANDO             FL    32801
 WENDY'S INTERNATIONAL, LLC.                E.J. WUNSCH, CHIEF LEGAL OFFICER              ONE DAVE THOMAS BLVD                                      DUBLIN              OH    43017
 WENDY'S INTERNATIONAL, LLC. ROYALTIES      E.J. WUNSCH, CHIEF LEGAL OFFICER              ONE DAVE THOMAS BLVD                                      DUBLIN              OH    43017
 WENDYS NATIONAL ADVERTISING WNAP           E.J. WUNSCH, CHIEF LEGAL OFFICER              ONE DAVE THOMAS BLVD                                      DUBLIN              OH    43017
 WM CORPORATE SERVICES, INC.                AS PAYMENT AGENT                              PO BOX 13648                                              PHILADELPHIA        PA    19101-3648
                                            ATTN: CHARLES C. BOETTCHER, JACQUOLYN
 WM CORPORATE SERVICES, INC.                HATFIELD-MILLS                                800 CAPITOL STREET              SUITE 3000                HOUSTON             TX    77002
In re: SBG Burger Opco, LLC, et al.
Case No. 23-04797 (TPG)                                                                                                                                                         Page 1 of 1
Case
 Case6:23-bk-04797-TPG
      6:23-bk-04797-TPG Doc
                         Doc401
                             335 Filed
                                  Filed04/04/24
                                        03/25/24 Page
                                                  Page83
                                                       4 of 85
                                                            6




                      Exhibit B
                                           Case
                                            Case6:23-bk-04797-TPG
                                                 6:23-bk-04797-TPG Doc
                                                                    Doc401
                                                                        335 Filed
                                                                             Filed04/04/24
                                                                                   03/25/24 Page
                                                                                             Page84
                                                                                                  5 of 85
                                                                                                       6

                                                                                Exhibit B
                                                                          Served Via Electronic Mail

                         NAME                               ATTENTION 1                                ATTENTION 2                            EMAIL
                                                                                                                           JLUNA@LATHAMLUNA.COM
 2018 PCG FUND, LLC AND AB SR TAMPA, LLC     C/O LATHAM, LUNA, EDEN & BEAUDINE, LLP          ATTN: JUSTIN M. LUNA          BKNOTICE1@LATHAMLUNA.COM
                                                                                                                           BRETT.MARKS@AKERMAN.COM
 AL QSR RE OWNER, LLC                        C/O AKERMAN LLP                                 ATTN: D. BRETT MARKS          CHARLENE.CERDA@AKERMAN.COM
 AL QSR RE OWNER, LLC                        C/O AKERMAN LLP                                 ATTN: ESTHER MCKEAN           ESTHER.MCKEAN@AKERMAN.COM
                                                                                                                           HERB@AYDELOTT.COM
 AYDELOTT EQUIPMENT, INC.                    ATTN: HERB AYDELOTT                                                           BILL@DENIUSLAW.COM
 AYDELOTT EQUIPMENT, INC.                    C/O DENIUS LAW P.A.                             ATTN: WILLIAM J. DENIUS       BILL@DENIUSLAW.COM
                                             C/O CAREY, O'MALLEY, WHITAKER, MUELLER,                                       RMUELLER@CAREYOMALLEY.COM
 B&B CASH GROCERY STORES, INC.               ROBERTS & SMITH, P.A.                           ATTN: RANDALL P. MUELLER      AMORGAN@CAREYOMALLEY.COM
 BARRY VIEW, INC. AND CIETEN, INC.           C/O HEPLERBROOM LLC                             ATTN: THOMAS H. WILSON        THW@HEPLERBROOM.COM
 BEACON MANNA LLC [SHOU-CHEN LIN]            ATTN: ERIC LEE                                                                ELEE2222@GMAIL.COM
 BECKER & POLIAKOFF                          JON POLENBERG                                                                 JPOLENBERG@BECKERLAWYERS.COM
                                                                                                                           SINGERMAN@BERGERSINGERMAN.COM
 BERKOWITZ POLLACK BRANT ADVISORS + CPAS     C/O BERGER SINGERMAN LLP                        ATTN: PAUL S. SINGERMAN, ESQ. SCAPUANO@BERGERSINGERMAN.COM
 BERKOWITZ POLLACK BRANT ADVISORS AND
 ACCOUNTANTS                                 ATTN: RICHARD POLLACK                                                       RPOLLACK@BPBCPA.COM
 BIMBO QSR OHIO, LLC                                                                                                     TRISHA.DUPLER@GRUPOBIMBO.COM
 BLACKSTONE MECHANICAL CORP                                                                                              INFO@BLACKSTONEMECHANICAL.COM
 BP ENVIRONMENTAL SERVICES, INC.             LOU PELLEGRINO, CEO                                                         INFO@WORKWITHBP.COM
 BREVARD COUNTY TAX COLLECTOR                ATTN: LEGAL                                                                 ALICIA.FOLEY@BREVARDTC.COM
                                                                                                                         LISA.CULLEN@BREVARDTAXCOLLECTOR.COM
 BREVARD COUNTY TAX COLLECTOR                ATTN: LISA CULLEN, ALICIA FOLEY                                             ALICIA.FOLEY@BREVARDTC.COM
                                             C/O WINDERWEEDLE, HAINES, WARD &
 BREVARD COUNTY TAX COLLECTOR                WOODMAN, P.A.                                   ATTN: HEIDI M. MITCHELL         HMITCHELL@WHWW.COM
                                                                                                                             SANDRON@BROWARD.ORG
 BROWARD COUNTY                              ATTN: ANDREW J. MEYERS, SCOTT ANDRON                                            SWULFEKUHLE@BROWARD.ORG
                                                                                                                             PJBATTISTA@VENABLE.COM
                                                                                                                             EJACOBS@VENABLE.COM
                                                                                             ATTN: PAUL J. BATTISTA, ERIC D. CASCAVONE@VENABLE.COM
 CITY NATIONAL BANK OF FLORIDA               C/O VENABLE LLP                                 JACOBS                          BTRAINA@VENABLE.COM
 COLONIAL SUITES, INC.                       C/O HOFFMAN, LARIN & AGNETTI, P.A.              ATTN: MICHAEL S. HOFFMAN        MSHOFFMAN@HLALAW.COM
 DAHIB INVESTMENTS CORP.                     C/O CARLTON FIELDS, P.A.                        ATTN J. RYAN YANT               RYANT@CARLTONFIELDS.COM
 DAVE THOMAS FOUNDATION FOR ADOPTION         MELINDA HAGGERTY, GENERAL COUNSEL                                               INFO@DAVETHOMASFOUNDATION.ORG
                                                                                                                             SDRAVER@KMKSC.COM
                                                                                             ATTN: SAMUEL M. DRAVER;         KMKSC@KMKSC.COM
 ECOLAB INC.                                 C/O KOHNER MANN AND KAILAS S.C.                 SAMUEL C. WISOTZKEY             SWISOTZKEY@KMKSC.COM
                                             C/O WINDERWEEDLE, HAINES, WARD &
 ECOLAB, INC.                                WOODMAN, P.A.                                   ATTN: RYAN E. DAVIS         RDAVIS@WHWW.COM
 EDC SERVICES GROUP, LLC [EDC FACILITIES
 MAINTENANCE GROUP]                          C/O THE HEATWOLE LAW FIRM, P.A.                 ATTN: JENNIFER L. MORANDO    JENNIFER@HEATWOLELAW.COM
                                                                                                                          ABALLENTINE@MYCORNERSTONELAW.COM
 EJT ENTERPRISES, LLC                        C/O CORNERSTONE LAW FIRM, PLLC                  ATTN: ANDREW S. BALLENTINE ESERVICE@MYCORNERSTONELAW.COM
 GRIDPOINT, INC,                             ATTN: TOM NELSON, GENERAL COUNSEL                                            TNELSON@GRIDPOINT.COM
                                                                                             ATTN: G. STEVEN FENDER, CHAD TRUSTEE.PAIVA@GMAIL.COM
 GUTHRIE REALTY, LLC                         C/O FENDER, BOLLING AND PAIVA, P.A.             S. PAIVA                     STEVEN.FENDER@FENDER-LAW.COM
 HILLSBOROUGH COUNTY TAX COLLECTOR           ATTN: BRIAN T. FITZGERALD, ESQ.                                              FITZGERALDB@HILLSBOROUGHCOUNTY.ORG
 HILLSBOROUGH COUNTY TAX COLLECTOR           ATTN: NANCY C. MILLAN, TAX COLLECTOR                                         MILLAN@HILLSTAX.ORG
 J & N WENDYS, LLC                           C/O BUSH ROSS, P.A.                             ATTN: ADAM LAWTON ALPERT     AALPERT@BUSHROSS.COM
 JACKSON LEWIS LLP                           STEPHANIE L. ADLER-PAINDIRIS                                                 STEPHANIE.ADLER-PAINDIRIS@JACKSONLEWIS.COM
In re: SBG Burger Opco, LLC, et al.
Case No. 23-04797 (TPG)                                                                                                                                      Page 1 of 2
                                         Case
                                          Case6:23-bk-04797-TPG
                                               6:23-bk-04797-TPG Doc
                                                                  Doc401
                                                                      335 Filed
                                                                           Filed04/04/24
                                                                                 03/25/24 Page
                                                                                           Page85
                                                                                                6 of 85
                                                                                                     6

                                                                                  Exhibit B
                                                                            Served Via Electronic Mail

                    NAME                                     ATTENTION 1                               ATTENTION 2                            EMAIL
 K & M OF SOUTH FLORIDA, INC                  C/O LAW OFFICES OF L. WILLIAM PORTER III, P.A. ATTN: L. WILLIAM PORTER III   BILL@BILLPORTERLAW.COM
 K & M OF SOUTH FLORIDA, INC.                 ATTN: MARIO LORENZO                                                          KMOFSOUTHFLORIDA@GMAIL.COM
 L&S 12TH ST PROPERTIES LLC AND WOODLAND
 NC PROPERTIES LLC                            C/O MIRMAN, BUBMAN & NAHMIAS LLP                 ATTN: ALAN I. NAHMIAS       ANAHMIAS@MBN.LAW
 LUSTBERG LIMITED LIABILITY COMPANY           C/O LESSNE LAW                                   ATTN: MICHAEL D. LESSNE     MICHAEL@LESSNE.LAW
 MATTHEW MARANO DBA MATTEOS
 LANDSCAPING CO, INC.                         ATTN: MATTHEW MARANO                                                         MATTEOLANDSCAPE@AOL.COM
 MAYFAIR SHIP SUPPLIES, INC. [MICHAEL                                                                                      RFURR@FURRCOHEN.COM
 PETIKAS, THEODORE PETIKAS]                   C/O FURR AND COHEN, P.A.                         ATTN: ROBERT C. FURR        JCRANE@FURRCOHEN.COM
                                                                                                                           ANDREW.NOLAN@MCS360.COM
 MCS COMMERCIAL, LLC                          ATTN: ANDREW NOLAN AND JON M. LIPPARD                                        JON.LIPPARD@MCS360.COM
                                              C/O TRENAM, KEMKER, SCHARF, BARKIN, FRYE,
 MIDCAP FUNDING FRANCHISE FINANCE TRUST       O'NEILL & MULLIS, P.A.                           ATTN: STEPHANIE C. LIEB        SLIEB@TRENAM.COM
 NCR CORPORATION                              ATTN: KELLI STERRETT, GENERAL COUNSEL                                           KELLI.STERRETT@NCR.COM
 NCR VOYIX CORPORATION                        ATTN: ASHLEY THOMPSON                                                           ASHLEY.THOMPSON@NCRVOYIX.COM
 NENGDAXIANG II, LLC                          C/O STEWART LEGAL GROUP, P.L.                    ATTN: GAVIN N. STEWART         BK@STEWARTLEGALGROUP.COM
                                                                                                                              SCOTT.E.BOMKAMP@USDOJ.GOV
 OFFICE OF THE U.S. TRUSTEE FOR THE MIDDLE    ATTN: SCOTT E. BOMKAMP, BRYAN E.                                                BRYAN.BUENAVENTURA@USDOJ.GOV
 DISTRICT OF FLORIDA                          BUENAVENTURA, & WILLIAM J. SIMONITSCH                                           WILLIAM.J.SIMONITSCH@USDOJ.GOV
                                                                                                                              JBAST@BASTAMRON.COM
 OFFICIAL COMMITTEE OF UNSECURED                                                               ATTN: JEFFREY P. BAST, DANA R. DQUICK@BASTAMRON.COM
 CREDITORS                                    C/O BAST AMRON LLP                               QUICK, JAIME B. LEGGETT        JLEGGETT@BASTAMRON.COM
                                                                                                                              RSHUKER@SHUKERDORRIS.COM
 PBNJ, LLC                                    C/O SHUKER & DORRIS, P.A.                        ATTN: R. SCOTT SHUKER          BANKRUPTCY@SHUKERDORRIS.COM
                                                                                               ATTN: CHRISTOPHER R.           CRTHOMPSON@BURR.COM
                                                                                               THOMPSON, KELSEY E.            MLUCCA-CRUZ@BURR.COM
 RBM PALM BAY, LLC                            C/O BURR & FORMAN LLP                            BURGESS                        KBURGESS@BURR.COM
 SHUTTS & BOWEN LLP                           ATTN: MARY RUTH HOUSTON                                                         MHOUSTON@SHUTTS.COM
 STATE STREET EAST, LLC                       C/O HANSON BRIDGETT LLP                          ATTN: JORDAN A. LAVINSKY       JLAVINSKY@HANSONBRIDGETT.COM
                                                                                                                              AHOGSETTE@SYNERGIPARTNERS.COM
 SYNERGI PARTNERS, INC.                       ATTN: ASHLEY HOGSETTE, CHRISTEL LAYTON                                          CLAYTON@SYNERGIPARTNERS.COM
 U.S. SMALL BUSINESS ADMINISTRATION                                                                                           BANKRUPTCYNOTICES@SBA.GOV
 WASTE MANAGEMENT                             C/O DAVIS WRIGHT TREMAINE LLP                    ATTN: BARRY S. GOLD            BARRYGOLD@DWT.COM
 WENDY'S INTERNATIONAL, LLC, QUALITY IS OUR
 RECIPE, LLC AND THEIR AFFILIATES             C/O SQUIRE PATTON BOGGS (US) LLP                 ATTN: MARK A. SALZBERG      MARK.SALZBERG@SQUIREPB.COM
 WENDY'S INTERNATIONAL, LLC, QUALITY IS OUR                                                    ATTN: STEPHEN D. LERNER,    STEPHEN.LERNER@SQUIREPB.COM
 RECIPE, LLC AND THEIR AFFILIATES             C/O SQUIRE PATTON BOGGS (US) LLP                 JUSTIN CLOYD                JUSTIN.CLOYD@SQUIREPB.COM
 WENDY'S INTERNATIONAL, LLC.                  E.J. WUNSCH, CHIEF LEGAL OFFICER                                             CORPORATE-SECRETARY@WENDYS.COM
 WENDY'S INTERNATIONAL, LLC. ROYALTIES        E.J. WUNSCH, CHIEF LEGAL OFFICER                                             CORPORATE-SECRETARY@WENDYS.COM
 WENDYS NATIONAL ADVERTISING WNAP             E.J. WUNSCH, CHIEF LEGAL OFFICER                                             CORPORATE-SECRETARY@WENDYS.COM
                                              ATTN: CHARLES C. BOETTCHER, JACQUOLYN                                        CBOETTCHER@WM.COM
 WM CORPORATE SERVICES, INC.                  HATFIELD-MILLS                                                               JMILLS@WM.COM




In re: SBG Burger Opco, LLC, et al.
Case No. 23-04797 (TPG)                                                                                                                                        Page 2 of 2
